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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA


  1. MARLIN BAUMGARTEL, AND                       )
  2. NADINE BAUMGARTEL,                           )
                                                  )
                        Plaintiffs,               )
                                                  )
  v.                                              )     Case No. 18-cv-85-TCK-FHM
                                                  )
  1. ANDREW FISHER AND                            )
  2. FISHER FARMS, INC.,                          )
                                                  )
                        Defendants.               )
                                                  )
  Jury Trial Demanded

                                       COMPLAINT

         Plaintiffs Marlin Baumgartel and Nadine Baumgartel, by and through their attorney

  of record, Brent E. Mayes of DeVaughn James Injury Lawyers, assert the following in

  support of plaintiffs’ Complaint against defendants Andrew Fisher and Fisher Farms, Inc.:



                                A. VENUE AND JURISDICTION

         1.     Plaintiffs Marlin and Nadine Baumgartel are residents of Howard, Elk

  County, Kansas.

         2.     Defendant Andrew Fisher is a resident of Bristow (Creek County),

  Oklahoma,and may be served at Defendant’s residence at 29323 S. 257th W Avenue,

  Bristow, Oklahoma, 74010.

         3.     Defendant Fisher Farms, Inc., is a “for profit” company organized under the

  State of Oklahoma. It is registered to do business in the State of Oklahoma and may be

  served through its resident agent Timothy Johnson, 200 N Main St., Bristow, Oklahoma,

  74010.

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          4.    This Court has proper venue and jurisdiction over the persons and subject

  matter.

          5.    The instant collision occurred on February 24, 2016, in Nowata County,

  Oklahoma.

          6.    This action is brought pursuant to 28 U.S.C. Section 1332(a) on the basis

  of diversity of citizenship. The matter is in excess of the sum of Seventy-Five Thousand

  and no/100 Dollars ($75,000.00) exclusive of interest and costs.

          7.    Venue is proper in this district pursuant to 28 U.S.C. 1391(a)(2) and (c)

  because a substantial part of the events giving rise to the claims in controversy that arose

  here.

                                       B. NATURE OF ACTION

          8.    This is a personal injury action arising out of a motor vehicle collision

  between a vehicle occupied by plaintiffs and a vehicle owned and operated by the

  defendant Fisher, who was in the course of his business dealings for defendant Fisher

  Farms, Inc.

                C. ALLEGATIONS OF NEGLIGENCE AND NEGLIGENCE PER SE

          9.    Defendant Andrew Fisher is listed as the owner of the vehicle and was in

  the course of his business dealings for Fisher Farms, Inc., when the collision occurred.

  Defendant Fisher Farms, Inc. is identified as the “insured” in the automobile liability policy.

          10.   On or about February 24, 2016, Plaintiff Marlin Baumgartel was driving the

  plaintiffs’ vehicle westbound on Hwy 60 with Plaintiff Nadine Baumgartel as his

  passenger. Meanwhile, defendant Fisher was traveling northbound on State Highway 28




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  when he negligently, carelessly, and wantonly failed to yield the right-of-way from a stop

  sign and collided with the plaintiffs’ vehicle.

         11.    The actions and omissions of Andrew Fisher and Fisher Farms, Inc., (both

  independently and through Andrew Fisher under Respondeat Superior and Vicarious

  Liability) are negligent, careless and negligent per se for the following reasons:

                a.      Failure to yield the right away at a stop sign;

                b.      Inattentive operation of a motor vehicle;

                c.      Failure to keep a proper lookout;

                d.      Failure to use ordinary care;

                e.      Failure to give warning;

                f.      Failure to take evasive action; and

                g.      Careless operation of a motor vehicle.

         12.    As a result of the Defendants’ negligence, plaintiffs sustained personal

  injuries and damages. Plaintiffs’ damages include, but are not limited to economic losses,

  future economic loss, loss of wages, past medical expenses, future medical expenses,

  pain and suffering, loss of enjoyment of life, emotional distress and such other remedies

  as this Court deems fair, just and equitable.

         WHEREFORE, Plaintiffs request judgment against Defendants for an amount in

  excess of SEVENTY-FIVE THOUSAND ($75,000.00), together with the costs incurred

  herein, and for such other and any further relief this Court deems fair, just and equitable.




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                                              Respectfully submitted,

                                              DeVaughn James Injury Lawyers


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                                 DEMAND FOR JURY TRIAL

        Plaintiffs request a jury trial on all issues so triable.

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